Case 15-02056-JKS        Doc 1    Filed 07/23/15 Entered 07/23/15 16:14:17          Desc Main
                                  Document      Page 1 of 6
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY
                                NEWARK VICINAGE

In Re:
                                                  Case No. 11-46308
Dai Young Kim
                                                  Chapter 7
         Chapter 13 Debtor
                                                  Hon. John K. Sherwood




Eun Sug Cha,

                      Plaintiff                 Adv. Pro. No.

         v.

Dai Young Kim,

                      Defendant


                       ADVERSARY COMPLAINT SEEKING
                   DETERMINATION OF NON-DISCHARGEABILITY


EUN SUG CHA, by and through his undersigned attorneys Law Offices of Scott J. Goldstein,

LLC, Scott J. Goldstein, Esq., appearing, as and for his complaint against the Defendant, DAI

YOUNG KIM, states as follows:
Case 15-02056-JKS         Doc 1     Filed 07/23/15 Entered 07/23/15 16:14:17          Desc Main
                                    Document      Page 2 of 6


                                        INTRODUCTION

   1.      This is an action for to determine dischargeability pursuant to 11 U.S.C. §523(a)(2)

and §523(a)(3)(B) and Federal Rule of Bankruptcy Procedure 7001(6), Federal Rule of

Bankruptcy Procedure 7001(7) and Federal Rule of Bankruptcy Procedure 7001(9).

                                   JURISDICTION AND VENUE

   2.      Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of

Title 28 of the United Stated Code in that this proceeding arises in and is related to the

above-captioned Chapter 7 case under Title 11 and concerns the dischargeability of a debt of the

debtor in that case.

   3.      This Court has both personal and subject matter jurisdiction to hear this case pursuant

to Section 1334 of Title 28 of the United States Code, Section 157(b)(2) of Title 28 of the United

States Code, and pursuant to the Order entered by the Judges of the United States District Court

for the District of New Jersey on July 23, 1984 (the Referral Order), which Order was entered in

accordance with the Bankruptcy Amendments and Federal Judgeship Act of 1984.

   4.      This matter is primarily a core proceeding and therefore the Bankruptcy Court has

jurisdiction to enter a final order. However, in the event this case is determined to be a non-core

proceeding then and in that event the Plaintiff consents to the entry of a final order by the

Bankruptcy Judge.

   5.      Venue lies in this District pursuant to Section 1391(b) of Title 28 of the United States

Code as against Dai Young Kim as the Debtor, upon information and belief, resides in this

District and did consent to jurisdiction by the filing of his Chapter 7 petition.
Case 15-02056-JKS        Doc 1    Filed 07/23/15 Entered 07/23/15 16:14:17            Desc Main
                                  Document      Page 3 of 6


                                           PARTIES

   6.      Plaintiff, Eun Sug Cha, (“Plaintiff” or “Cha”) is and was at all times relevant hereto

an individual resident of the State of California. Mr. Cha was at all times relevant hereto, a

creditor of the Debtor in the Chapter 7 Proceeding entitled In Re Dai Young Kim, which

underlies this Adversary Proceeding (“the Base Case”).

   7.      Defendant, Dai Young Kim (“Defendant, “ “Debtor” or “Kim”) is and was at all

times relevant hereto a resident of the State of New Jersey and the Debtor in the Base Case.



                           FACTS COMMON TO ALL COUNTS

Underlying Fraudulent Transactions

   8.      Prior to the commencement of the Base Case, the Debtor, was part of a group of

persons who perpetrated a series of frauds upon Koreean immigrants and nationals by soliciting

and obtaining sums of money for the purported purpose of selling interests in a property known

Jeju Hill Resort or NEST HILL on Jeju Island in South Korea.

   9.      The Debtor owned or was affliated with several entities known as KOUSA, INC.,

d/b/a Family Club, CNP Holdings and other entities.

   10.     The Debtor used these entities in the perpetration of his frauds against the Plaintiff

and other Korean immigrants and nationals.

   11.     Mr. Cha, on his own behalf, and as the assignee of 44 claimants, invested

approximately $2,130,000 with the Debtor’s entities.

   12.     The Debtor, by and through his business interests, advertised heavily in local Korean

media channels, advertising memberships in the aforementioned properties and promising
Case 15-02056-JKS         Doc 1    Filed 07/23/15 Entered 07/23/15 16:14:17             Desc Main
                                   Document      Page 4 of 6


substantial benefits, including free airfare to Korea, timeshare usage and a return of principal

with interest.

    13.     The Plaintiff and his assignors were told that their monies would purchase interests in

Nest Hill Pension Resort on Jeju Island, in South Korea.

    14.     The Plaintiff and his assignors were given certificates purporting to convey such

interests to them, which eventually turned out to be complete fabrications.

    15.     When the Plaintiff and other assignors contacted Nest Hill Resort to use their

benefits, they were told that Nest Hill had no relationship with the Debtor or his associates.

    16.     Some of the Debtor’s co-conspirators were arrested in connection with the frauds.

(See http://www.nj.com/bergen/index.ssf/2014/07/two_men.html)

The Chapter 7 Petition and Omission of the Plaintiff

    17.     The Debtor commenced the underlying Chapter 7 case on or about December 23,

2011, as it was becoming apparent that his frauds were being revealed.

    18.     The Court issued a Notice of Commencement setting the deadline for

non-dischargeability actions was March 27, 2012, pursuant to Federal Rule of Bankruptcy

Procedure 4007(c).

    19.     The Debtor, on filing his petition filed accompanying schedules and a Statement of

Financial Affairs, which nowhere mentioned the Plaintiff.

    20.     Indeed, on the his petition, the Debtor listed unsecured debts of $572,130.60,

however, the obligations to the movant and his assignors were never mentioned.

    21.     Being unaware of the filing of the Base Case, commenced an action in California

Superior Court on or about August 24, 2012.
Case 15-02056-JKS          Doc 1    Filed 07/23/15 Entered 07/23/15 16:14:17             Desc Main
                                    Document      Page 5 of 6


    22.     Following the filing of his state case, the Plaintiff was advised by letter dated

February 13, 2013, from Debtor’s then counsel, Eric Perkins, that the Debtor had commenced the

Base Case and discontinued his state collection attempts.

    23.     The Debtor had received his discharge on May 4, 2012, well before the Plaintiff

sought to collect the damages suffered, all the time unaware of the pendency of the Base Case.

    24.     The case remained open, however, until September 30, 2013 due to the pendency of

an unrelated non-dischargeability action by another creditor.

    25.     Plaintiff was only made aware of the filing of the bankruptcy case by Mr. Perkins’

letter, sent nearly 9 months after discharge was granted and 11 months after adversary

proceedings were barred.

                                          FIRST COUNT

    26.     Plaintiff repeats and realleges each and every one of the foregoing allegations with

the same force and effect as if set forth at length.

    27.     The Plaintiff’s claims against the Debtor arise under 11 U.S.C. §523(a)(2)(A) and 11

U.S.C. §523(a)(4), based on the Debtor’s fraud, misrepresentation and theft of funds.

    28.     11 U.S.C. §523(a)(3) provides that unlisted and unscheduled debts that arise under 11

U.S.C. §523(a)(2), (a)(4) and (a)(6) if the debt was not disclosed to the creditor in sufficient time

for the creditor to file a proof of claim and bring the appropriate adversary proceeding.

    29.     In the instant case, the Debtor failed to list or schedule the Plaintiff and his assignors

on the Debtor’s Schedules and never provided any notice to the Plaintiff until Mr. Perkin’s letter

of February 13, 2013, well after the time to file an adversary proceeding pursuant to 11 U.S.C.

§523(c).
Case 15-02056-JKS          Doc 1    Filed 07/23/15 Entered 07/23/15 16:14:17            Desc Main
                                    Document      Page 6 of 6


   30.     As such, due to the Debtor’s failure to list or schedule the aforedescribed claims by

the Plaintiff and his assignors, the Plaintiff’s claim is non-dischargeable.



WHEREFORE, the Plaintiff demands judgment as follows:

           A. Declaring and adjudging that the Defendant’s obligations to the Plaintiff and his

               assignors are non-dischargeable pursuant to 11 U.S.C. §523(a)(3).

           B. Vacating the order of discharge with respect to the Plaintiff’s claims;

           C. Granting such additional and/or other relief as this Court deems appropriate.




                                                   LAW OFFICES OF SCOTT J. GOLDSTEIN, LLC

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Dated:     July 23, 2015
